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                              UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF NEW YORK

TREVOR SINGLETON, individually and            §
on behalf of all others similarly situated,   §
                                              §
        Plaintiff,                            §   Case No.: 5:15-CV-0474 (BKS/TWD)
                                              §
vs.                                           §
                                              §
FIFTH GENERATION, INC., d/b/a                 §
TITO’S HANDMADE VODKA,                        §   Judge Brenda K. Sannes
                                              §   Magistrate Judge Terese Wiley Dancks
        Defendant.                            §
                                              §

            DEFENDANT FIFTH GENERATION, INC.’S OPPOSITION TO PLAINTIFF’S
                         MOTION FOR CLASS CERTIFICATION

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                                          INTRODUCTION

       Plaintiff Trevor Singleton (“Singleton”) seeks to represent a class of New York consumers

who purchased Tito’s Handmade Vodka® manufactured by Defendant Fifth Generation, Inc.

(“Fifth Generation”) based on allegations that the words “handmade” and “crafted in an old-

fashioned pot still” on the labels are false and misleading. Although Singleton is correct that the

labeling has been consistent during the class period—in compliance with federal regulations—his

evidence shows that the claims he seeks to represent are anything but uniform.

       For 20 years, Tito’s Handmade Vodka has been made exclusively by Fifth Generation in

its original microdistillery in Austin, Texas. Every batch is made in old-fashioned pot stills in

Austin and taste-tested by Fifth Generation’s team of expert tasters before being bottled at the

same facility. As the founder’s sworn testimony details, the descriptions are not misleading. The

record is conclusive that Fifth Generation exclusively owns and uses pot stills in its distillery. And

by law, the terms “handmade,” “old-fashioned,” and “quality” are “puffery” or opinions, not

actionable in fraud. Because these terms are purely subjective, it is not surprising that class

members will have different opinions as to what handmade means, and as a well-designed survey

of Tito’s purchasers has revealed, only a fraction of class members have ascribed any significance

to the term “handmade,” and an even smaller fraction of those class members attribute handmade

to process. Of the vast majority of the purchasers surveyed who were repeat purchasers, less than

four percent indicated that “handmade” was the primary reason for their purchases.

       Of these 300+ Tito’s Handmade Vodka customers, an overwhelming majority rejected the

claim that Singleton has pled.
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                                                          This information defeats any notion that the

class claim is uniform.

          Singleton has also failed to show that the members of his putative class share his

experience. He first encountered Tito’s Handmade Vodka when his boss, a restaurant proprietor,

bought it for use in the kitchen. He was quickly won over by the taste and used it for years in his

cooking. He did not purchase the vodka based on the label and bought 1.75-liter bottles on a

weekly basis for at least four years. The evidence shows that the potential class members have

had different experiences when it comes to purchasing and consuming Tito’s Handmade Vodka,

although a large number of them, including Singleton, have shared experiences of its smooth taste.

          Although he claims an injury based on a price premium, Singleton fails to produce a shred

of evidence of what the retail prices were in New York for Tito’s Handmade Vodka or any other

vodka. None of his three experts is an economist and none analyzed retail sales data, and there is

no economic model to substantiate the claim. When the aggregated data is actually considered,

there is no proof of a price premium for Tito’s Handmade Vodka, much less one that could be

attributed to the claim that “handmade” is misleading. In any event, the only evidence of retail

sales prices in New York is that they vary widely so it would not be possible to determine or

calculate any price premium—even if Singleton’s hypothesis were credited—without referencing

each individual’s purchase history. Thus, the putative class fails to satisfy the Supreme Court’s

Comcast1 standard that rejected theories in favor of economic analysis that matches the injury

alleged. On any and all of these bases, class certification should be denied.

                                        FACTUAL BACKGROUND

          A.      History of Tito’s Handmade Vodka

          Tito’s Handmade Vodka is the brainchild of founder Bert Butler Beveridge II, who has


1
    Comcast Corp. v. Behrend, 133 S. Ct. 1426, 1432-34 (2013).

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human intervention to taste each batch in order to determine how to best capture the center-cut

alcohol—the “nectar”—to achieve the best and most consistent quality vodka. Beveridge I Decl.

¶¶ 2-3, 22. According to Beveridge, the process is worth it: “‘handmade’ has always been my

opinion that the best-tasting vodka is achieved through pot-still distillation with the human-

controlled, organoleptic-based methods and processes we have developed and refined at Fifth

Generation, Inc.” Id. ¶ 22.

          As with all alcoholic beverages, Tito’s Handmade Vodka is heavily regulated and taxed.

Id. ¶ 4. Every bottle for sale must have a label approved by the U.S. Alcohol and Tobacco Tax

and Trade Board (“TTB”) before it can leave the distillery. The TTB reviews labels as part of a

comprehensive statutory and regulative scheme, which approves, or in many cases, rejects, the

proposed label submitted to it as part of a certificate of label approval process, or “COLA.” And,

under the Federal Alcohol Administration Act (“FAAA”)4 and its regulations, the Secretary of the

Treasury is directed to make regulations governing alcohol labels that “prohibit deception of the

consumer” and “prohibit statements on the label that are . . . false (or) misleading . . . .” 27 U.S.C.

§§ 205(e)(1)&(4); Wawszkiewicz v. Dep’t of Treasury, 670 F.2d 296, 297-98 (D.C. Cir. 1981).

          The TTB does not simply review paperwork submitted to it by the manufacturers. It

regularly audits the entire operation. See e.g. Beveridge I Decl. ¶¶ 6-7 & Exhibit 1. Audits of

Fifth Generation regularly include “all phases of production, warehousing, bottling, and shipping”

with the assistance of the Trade Investigations Division “in testing product integrity, labeling,

proof and fill, and use of approved formulas.” Id. TTB employees can and do request and review

“accounting records and reports, operating source documents, and other data relevant to operations

and proper preparation of excise tax returns,” as well as “records relating to labeling, formula




4
    27 U.S.C. § 201 et seq.

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approvals, and proof and fill operation,” “historical inventory records,” and “physical inventories

of finished goods . . . .” Id. The process can be lengthy—weeks at a time—involving numerous

TTB employees who “camp out” at the distillery. Beveridge I Decl. ¶ 7.

       The word “Handmade” has been part of the label for Fifth Generation’s vodka product

since the very first label approved for product sale in 1997. Id. ¶ 8. Fifth Generation has also used

the phrase “‘Made’ (and since 1998) Crafted in an Old Fashioned Pot Still” under each use of

Handmade on the front label to explain what made its vodka different and “handmade.” Id.

       The TTB has specifically questioned the use of “handmade” on the labels for Tito’s

Handmade Vodka and looked into the matter during the course of its 2005 audit and ultimately

“concluded that the reference to ‘handmade’ on this label is [in] compliance with the labeling

regulations we enforce and we do not find the term misleading.” Id. ¶¶ 10-15 & Exhibit 8. Since

that time, the TTB has approved other labeling changes, but has not questioned Fifth Generation’s

use of “handmade” again. Id. ¶¶ 17-18. More recently, the TTB’s Director of the Advertising,

Labeling and Formulation Division submitted a declaration in another case involving similar

claims stating that the TTB had “determined that as a matter of policy, the term ‘handmade’ has

no definition in the TTB regulations, nor industry standard and as such, constituted puffery,

and did not conflict with or qualify any of the mandatory statements on the label.” Scalese Decl.

¶ 4 (attached to Beveridge I Decl. as Exhibit 10) (emphasis added).

       B.      Singleton First Encounters Tito’s Handmade Vodka in a Restaurant Kitchen

       Singleton’s first exposure to Tito’s Handmade Vodka was while working as a sous chef at

the Bluestone Grill. Singleton Depo. at 31:22-32:6; 34:2-13; 38:13-19 (Exhibit 3). One of the

owners brought a bottle of the vodka to the restaurant and shared it with the kitchen staff, including

Singleton. Id. at 39:1-19. Singleton testified that he liked Tito’s Handmade Vodka better than

Absolut, id. at 40:3-13, a higher priced brand. In his own words: “I just thought [Tito’s] had a


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better finish to it and a smoothness to it that . . . I didn’t find with like Absolut or -- . . . I guess

it’s a personal preference.” Singleton Depo. at 40:10-13 (emphasis added).

        After that point, when preparing dishes using vodka, the kitchen staff would typically use

Tito’s Handmade Vodka: “At that point we all came to the consensus, meaning my chef and the

owner, the other partner in the business, that it was suitable vodka to use for cooking because of

its quality and flavor.” Id. at 36:5-37:2. Singleton and his co-workers felt that Tito’s Handmade

Vodka had the best taste in the dishes they prepared. Id. at 38:2-12.

        At that time, Singleton himself did not have responsibility for buying alcohol for the

Bluestone Grill. Id. at 41:9-11. He had no sense how Tito’s Handmade Vodka compared to other

brands price-wise; instead, his boss told him “‘It was a good price. . . . and it’s a good tasting

vodka for the price.’” Id. at 42:1-9. She apparently changed brands from Ketel One to Tito’s

Handmade Vodka “[b]ecause she liked the flavor and the price, basically, too.” Id. at 42:10-24.

Singleton added that his boss also liked “the fact that it was handmade in small batches and all

that. We . . . really liked that aspect of it.” Id. at 43:1-3. When asked what his boss communicated

as to her understanding of “handmade,” Singleton answered: “All that she said was it’s handmade

vodka. It’s good quality vodka. That’s basically -- I think that’s all she knew. She was going off

the label basically.” Id. at 43:15-18.

        Singleton was already familiar with Tito’s Handmade Vodka before he made his first

purchase. Id. at 56:12-57:8; 71:5-8. He purchased it both to cook with and to drink. Id. at 59:7-

9.   He continued to purchase exclusively Tito’s Handmade Vodka for his own personal

consumption. Id. at 60:18-21; 61:18-21. When he became the head chef at the Circle E Diner in

Hancock, New York, and was able to choose the vodka used in his signature dishes, Singleton

continued to use Tito’s exclusively—because “I had used it at the Bluestone and it was a good

vodka to use for the flavors I wanted to keep consistent.” Id. at 47:23-49:8. He purchased Tito’s


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repeatedly over the course of seven years, and during the class period (2010-2014), he claimed he

was purchasing a 1.75-liter bottle per week. Class Action Complaint (Docket #1) ¶ 16; see also

Singleton Depo. at 61:18-62:2. In his experience, the price fluctuated. Id. at 73:3-9. But the

quality never changed. Id. at 74:4-12. And he simply liked the flavor of Tito’s Handmade Vodka

over a number of other available vodkas. Singleton Depo. at 89:4-91:1l; see also Plaintiff’s

Interrogatory Answers No. 23(f) (Exhibit 4) (“[I]t had a good flavor that was smooth and

palatable.”). Although Singleton claims that Fifth Generation misrepresented its “superior quality

and workmanship,” Complaint ¶ 4, he testified that “quality is subjective. It depends upon every

person’s taste. . . . . .” Singleton Depo. at 99:4-5 (emphasis added); see also id. at 93:20-23. In

Singleton’s mind, quality is “[m]ostly” about taste. Id. at 99:17-23.

        Singleton never saw any advertising prior to his first purchase of Tito’s Handmade Vodka.

Id. at 70:5-20. In his own words, advertising and promotion “had no bearing on my decision to

use it or not.” Id. at 70:19-20. He has never visited Fifth Generation’s website. Id. at 71:9-12.

        Although his Complaint describes a fully automated process for distilling Tito’s Handmade

Vodka, Singleton himself has no real understanding of the way it is actually made. As of the time

of his deposition, Singleton had not seen any videos5 or reviewed other information that depicts

the process for distilling Tito’s Handmade Vodka. Id. at 80:7-10. He relied entirely on an article

in Forbes about Tito’s Handmade Vodka for his allegations about automation and mass

production, although he did not actually read the article until approximately a week before his

deposition. Id. at 80:11-82:2; see also Complaint ¶ 24. Notwithstanding his allegations, Singleton

agreed that stills like those used to distill Tito’s Handmade Vodka are not machines: “It has no


5
  One of Singleton’s experts relies heavily on a video from the Titosvodka.com website called “Tito’s
Story,” but Singleton never saw it. The montage of news and special-interest stories was not placed on the
Tito’s website until October 3, 2016—17 months after this lawsuit was filed. Plater Decl. ¶ 5 (Exhibit 5);
see also Yessian Decl. ¶ 5 (Exhibit 6). Although it was available on YouTube earlier, it was viewed a total
of 1,116 times between April 2012 and April 2015. Id. ¶ 7.

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moving parts, so it wouldn’t be a machine.” Singleton Depo. at 83:24-84:15. And even if the size

of the pot still were increased, it would still not convert the tool into a “machine.” Id. at 84:20-24.

        Singleton considered Tito’s Handmade Vodka to be reasonably priced as compared to other

brands, including Absolut, Ketel One, Grey Goose, and Pinnacle, and he was not able to identify

any other vodka brands that are handmade. Id. at 94:21-96:17. Singleton stopped purchasing

vodka altogether at the time he filed this lawsuit and now drinks Jack Daniels. Id. at 61:22-62:9.

        C.      Singleton Files This Suit

        Singleton brought this case in April, 2015. It was one of a series of similar lawsuits filed

in various jurisdictions that were based in large part on some statements in the Forbes article. All

of the other cases have been dismissed in their entirety.

        Fifth Generation brought a motion to dismiss Singleton’s claims here, and the Court

dismissed two causes of action. See Memorandum-Decision and Order (Docket #32) at 33. His

two remaining claims are alleged violations of New York General Business Law §349 and

intentional misrepresentation.6 Id. at 24, 31-33. He asks the Court to certify these two claims on

behalf of a class of all persons in New York who purchased Tito’s Handmade Vodka from April

12, 2012, through the present. As evidenced by Singleton’s own experience, these putative claims

are highly individualized and cannot be certified for class treatment.

                                     ARGUMENT AND AUTHORITIES

I.      The Standards for Class Certification Are Rigorous and Demanding, Not Presumed

        Class actions are “an exception to the usual rule that litigation is conducted by and on

behalf of the individual named parties only.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 349,

131 S. Ct. 2541 (2011); Comcast Corp. v. Behrend, 133 S. Ct. 1426, 1432 (2013). A district court



6
 The Court has not yet ruled on the merits of the safe harbor defense to the plaintiff’s §349 claim; it merely
determined that evidence outside the pleadings of the TTB’s review process would be required.

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may certify a class only if after a “rigorous analysis” it finds, not merely assumes, that the plaintiffs

have met their burden of demonstrating that (1) the proposed class meets all four prerequisites of

Rule 23(a)—numerosity, commonality, typicality, and adequacy of representation, and (2) that the

class fulfills one of the categories of Rule 23(b).7 Dukes, 564 U.S. at 349-51; see id. at 351

(“‘[A]ctual, not presumed, conformance with Rule 23(a) remains ... indispensable.’” (quoting Gen.

Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 160 (1982)); Amgen v. Conn. Ret. Plans & Trust Funds,

568 U.S. 455, 133 S. Ct. 1184, 1191 (2013). The “rigorous analysis” may entail overlap with the

merits of the claims because it is improper to certify a class without knowing how the claims can

and will likely be tried. Comcast, 133 S. Ct. at 1432. The plaintiff’s burden “is not lessened by

overlap between a Rule 23 requirement and a merits issue, even a merits issue that is identical with

a Rule 23 requirement.” In re Initial Pub. Offerings Sec. Litig., 471 F.3d 24, 41 (2d Cir. 2006).

II.     There Is No Common Experience for the Class

        A common question is one that is answered the same for all class members not reliant on

individual proof. Dukes, 564 U.S. at 350 (“Th[e] common contention, moreover, must be of such

a nature that it is capable of classwide resolution—which means that determination of its truth or

falsity will resolve an issue that is central to the validity of each one of the claims in one stroke.”).

An individual question is one where “members of a proposed class will need to present evidence

that varies from member to member,” while a common question is one where “the same evidence

will suffice for each member to make a prima facie showing [or] the issue is susceptible to

generalized, class-wide proof.” Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045 (internal

quotation marks omitted)).




7
  Singleton seeks certification under Rule 23(b)(2) based on his request for injunctive relief on behalf of the
class or Rule 23(b)(3), requiring showings that common issues predominate over individual issues and that
the class device is superior to other forms of resolution.

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        Far more demanding than Rule 23(a)’s commonality requirement is the predominance

inquiry of Rule 23(b)(3). Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 623-24 (1997); accord

Comcast, 133 S. Ct. at 1432. Common issues predominate under Rule 23(b)(3) only when

common issues will be the object of most of the efforts of the litigants and the court. The putative

class claims cannot meet Rule 23(a)’s test for common questions, much less the “far more

demanding” requirement of predominance.

       A.      The Section 349 Claims Will Require Individualized Answers and Proof

       To state a claim under New York’s General Business Law § 349(a), each plaintiff must

allege and prove: “(1) that the defendant’s acts were consumer oriented, (2) that the acts or

practices are ‘deceptive or misleading in a material way,’ and (3) that the plaintiff has been injured

as a result.” Goldemberg v. Johnson & Johnson Consumer Cos., 8 F. Supp. 3d 467, 478 (S.D.N.Y.

2014) (“Goldemberg I”) (quoting Oswego Laborers’ Local 214 Pension Fund v. Marine Midland

Bank, N.A., 85 N.Y.2d 20, 25, 623 N.Y.S.2d 529, 647 N.E.2d 741 (1995)). New York courts of

appeals have adopted an “objective” definition of “misleading.” Wurtz v. Rawlings Co., LLC, No.

12-CV-1182 (JMA)(AKT), 2016 WL 7174674, at *10 (E.D.N.Y. Nov. 17, 2016); Orlander v.

Staples, Inc., 802 F.3d 289, 300 (2d Cir. 2015). To show that conduct is “materially misleading,”

the plaintiff must show the act is “likely to mislead a reasonable consumer acting reasonably under

the circumstances.” Orlander, 802 F.3d at 300 (internal quotations and citation omitted)). The test

is not whether the label can be proven false, but whether the labeling of the products is deceptive

because it “would deceive a consumer.” Goldemberg v. Johnson & Johnson Consumer Cos., 317

F.R.D. 374, 388 (E.D.N.Y. 2016) (“Goldemberg II”).

       Fifth Generation does not dispute that its marketing and sales are “consumer oriented,” but

the record in this case does not support the second two elements of the claim either for Singleton

or any other class member, as more fully explained in Fifth Generation’s Motion for Summary


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Judgment, filed contemporaneously. In any event, the questions raised by these elements cannot

be answered uniformly for the class.

                 1.      Whether the Label Is Deceptive or Misleading in a Material Way Is an
                         Uncommon Question

          Singleton alleges that Fifth Generation has promoted and advertised Tito’s Handmade

Vodka in a materially misleading and deceptive manner. Complaint ¶¶ 2-3, 36. Specifically, he

claims that “[t]he conduct of Defendant alleged herein violates GBL § 349 in that Defendant

engaged in the unfair acts and deceptive practices as described herein, which included the

promotion and advertising of Tito’s Handmade Vodka as being ‘Handmade’ and ‘Crafted in an

Old Fashioned Pot Still’ which was deceptive, false and misleading given that the Vodka is actually

made by mechanized and/or automated processes in massive buildings containing ten floor-to-

ceiling stills.” Id. ¶ 44. But, according to Singleton’s deposition testimony, advertising and

promotion “had no bearing on my decision to use it or not.” Id. at 70:19-20; 70:5-20; 71:9-12. He

first tasted Tito’s Handmade Vodka in a restaurant kitchen and continued to use and consume it

because his boss purchased and promoted it due to the taste and price point. Id. at 39:1-19; 42:1-

24. And Singleton found he liked Tito’s Handmade Vodka better than other brands, id. at 40:3-

13; 89:4-91:1; see id. at 40:10-13 (“I guess it’s a personal preference.” (emphasis added)).

          Singleton is not unusual in this regard.




                                                .8 As explained below, this survey reveals a wide

range of consumer perceptions about the putative claims that promotion and advertising of Tito’s



8
    Approximately 24% of the respondents were from New York State. NERA Report ¶ 40.

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Handmade Vodka as being “handmade” and “crafted in an old fashioned pot still” are deceptive

or misleading. These claims require individual inquiries, yielding myriad answers, and so simply

cannot be resolved “in one stroke.” Dukes, 564 U.S. at 350.

                      a.      “Handmade” is in the eye of the beholder

       There is no regulatory or industry definition of “handmade,” much less one measured by

total output. Coffey Depo. at 97:2-8 (Exhibit 8). As noted, the TTB’s Director of the Advertising,

Labeling and Formulation Division submitted a declaration in another case involving similar

claims stating that the TTB had “determined that as a matter of policy, the term ‘handmade’ has

no definition in the TTB regulations, nor industry standard and as such, constituted puffery, and

did not conflict with or qualify any of the mandatory statements on the label.” Scalese Decl. ¶

4 (attached as Exhibit 10 to Beveridge I Decl.) (emphasis added).

       Courts are also in agreement that the term “handmade”—used in connection with alcohol

distillation—is classic opinion or “puffery.” See, e.g., Pye v. Fifth Generation, Inc., Case No.

4:14cv493-RH/CAS, 2015 WL 5634600, at *2 (N.D. Fla. Sept. 23 , 2015); Salters v. Beam

Suntory, Inc., No. 4:14-cv-659-RH/CAS, 2015 WL 2124939, at *2-3 (N.D. Fla. May 1, 2015)

(dismissing complaint with prejudice, finding with respect to a whiskey product that “no

reasonable person would understand ‘handmade’ in this context to mean literally made by hand”);

Nowrouzi v. Maker’s Mark Distillery Inc., Civil No. 14CV2885 JAH(NAS), 2015 WL 4523551,

at *7 (S.D. Cal. July 27, 2015); Welk v. Beam Suntory Co., 124 F. Supp. 3d 1039, 1043-44 (S.D.

Cal. 2015); cf. Barrett v. Milwaukee Elec. Tool, Inc., No. 14CV1804 JAH (DHB), 2016 WL

4595947, at *5 (S.D. Cal. Jan. 26, 2016) (“‘Handcrafted’ can neither be reasonably interpreted as

meaning literally made by hand nor that a reasonable consumer would understand the term to mean

no equipment or automated process was used to manufacture the hammers.”).




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          In his deposition, Singleton’s distilling expert, Donald Coffey (“Coffey”), agreed that there

is no industry definition for “handmade.” Coffey Depo. at 97:2-8 (Exhibit 8). He also agreed that

alcohol cannot be distilled by human hands because of the boiling process, so “literally speaking,”

the term “handmade” does not match up with alcohol distillation. Id. at 125:14-22. To Coffey,

          [t]he way I would describe it for handmade, if I hear a spirit is handmade, I assume
          that the distiller, the person running the distillation, will start by charging his still
          and then he will make a personal determination on where to cut off, because I said
          the first thing that happens is the heads come off . . . . And somebody has to make
          that determination, right? So typically, in the very large GNS9 producers, that’s a
          very automated process because that comes off automatically. For craft distillers,
          there is typically somebody making a subjective determination on when to stop
          collecting . . . . So then it hits a certain point where it’s called the heart, right. So
          then I decide I want to start collecting there and then I start collecting that material
          until it gets to a certain point where the tails start coming out. Those are typically
          subjective calls for the small distillers.

Id. at 125:23-127:5; see id. at 127:21-25 (confirming that his opinion of what makes a spirit

“handmade” was formed by his experience in the distilled spirits industry). Coffey thus described

a process of making “handmade” vodka that is precisely the one used by Fifth Generation. And

Singleton, who also knows nothing about the process of making Tito’s Handmade Vodka, agreed

that “you can’t handle boiling liquid” and “a pot still has no moving parts, so it wouldn’t be a

machine”—even increasing its size would not make a pot still into a “machine.” Singleton Depo.

at 79:5-6; 83:24-84:15, 20-24.

          A NERA survey of Tito’s consumers bears out just how individualized consumer

understanding of the term “handmade” really is. See generally NERA Report. Among the

respondents who indicated that “handmade” was a driver in their initial purchase decision, there

was much diversity in their opinions about what “handmade” means. Id. ¶ 46. A number of




9
    GNS and NGS are both acronyms for “neutral grain spirits.” Coffey Depo. at 34:13-15.

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respondents “indicated that ‘handmade’ relates to the nature of ingredients and the overall product

quality, as opposed to the nature in which the vodka was produced.” Id.




                                          Singleton’s putative allegation is anything but common.

                      b.      “Crafted in an old-fashioned pot still” is entirely accurate

       The record conclusively establishes that Tito’s Handmade Vodka is distilled in pot stills,

which are the only type of stills Fifth Generation owns and operates. Beveridge II Decl. ¶ 4;




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                       c.      Perceptions of “quality” are highly individualized

       Plaintiff also claims that Tito’s labeling was misleading because it connotes a “superior

product of greater quality compared to a competitor’s vodka.” Complaint at ¶¶ 5, 27, 28; see also

Singleton Depo. at 57:4-8 (Plaintiff “really liked the idea that [Tito’s vodka] was handmade in

small batches and stuff”); id. at 60:8-17 (Tito’s was a favorite in part because of its “artisanship”);

Id. at 76:24-77:3 (product with human interaction “will be superior” to a product with only

machine interaction); id. at 83:5-14 (Plaintiff’s “belief” that “handmade items are of higher

quality” and were “set [] apart from other vodka”). Singleton’s basic theory is that Tito’s

purchasers were misled into believing the vodka is “higher quality” by virtue of the way it is made,

while in fact the alcohol is distilled in “massive buildings containing ten floor-to-ceiling stills and

bottling 500 cases an hour.” Complaint ¶¶ 3-5. This “process equals quality” theory has not been

successful in other cases, in large part because “quality” is inherently subjective, and label claims

that connote quality are non-actionable puffery. See, e.g., part II.B.1.

       Singleton does not actually claim that Tito’s Handmade Vodka failed to live up to his own,

subjective quality expectations. Nor could he, because according to his Complaint in this case, he

bought 1.75 liters per week (one of the popular bottle sizes for Tito’s Handmade Vodka) since

2010, or more than 200 bottles in all, without ever lodging a complaint. Complaint ¶ 16. But he

has declined to provide any product to use as a benchmark for his “quality” allegations—and he

testified that he is unable to identify any other brands of vodka that are handmade and so had no

basis to compare it. Singleton Depo. at 96:11-17. In his personal opinion, the value of Tito’s

Handmade Vodka compared favorably to both similar and higher priced vodkas, including

Absolut, Ketel One, and Grey Goose. Id. at 93:23-95:8; 95:17-96:4. But those were his opinions:

“Like I said, it’s kind of subjective, quality, the word.” Id. at 93:20-23. Singleton’s industry




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expert, Coffey, agreed that “as far as 80-proof vodka is concerned, qualitative differences are really

in the mouth of the drinker.” Coffey Depo. at 141:8-12.

               2.      Causation Can Only Be Demonstrated on a Case-by-Case Basis

       A plaintiff must show that he purchased defendant’s product as a result of the misleading

statements. Goldemberg I, 8 F. Supp. 3d at 480. “To properly allege causation, a plaintiff must

state in his complaint that he has seen the misleading statements of which he complains before he

came into possession of the products he purchased.” Id. If a plaintiff does not see the allegedly

misleading information beforehand, he could not have been injured by it. Id.




                                                                                                 .

       These survey results are further confirmed by an industry expert, Peter Reidhead

(“Reidhead), who analyzed aggregated data reflecting actual purchasing behavior. Reidhead Decl.

¶¶ 1, 7. Based on these real-world numbers, Reidhead observed that Tito’s Handmade Vodka:


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(i) has experienced significant and sustained growth in the U.S. market11—

                                                                 (ii) grew first in the “on-premise”

(bars and restaurant space); (iii) experienced a “fairly equal balance of growth in distribution

[increasing presence in bars/restaurants] and growth in velocity [sales per point of distribution] …

evidence of the strong grassroots demand among consumers, which in turn was recognized by

bar/restaurant owners who then wanted to stock the brand;” (iv)

                                and (v) far outperformed other craft vodkas during the time period.

Id. ¶ 7(a)-(e).   From these observations and based on his substantial experience, Reidhead

“believes quite strongly that the growth in retailer distribution, consumer velocity, and the

corresponding gains in market share that Tito’s Handmade Vodka achieved during the 2011-2015

period, are due to uniquely strong word of mouth surrounding the brand,” which fostered both

initial and repeat purchases. Id. ¶ 9.

          Reidhead’s observations and conclusions in these regards were corroborated by the NERA

survey.




                       there is no basis for Singleton’s assumption that the term handmade—as

opposed to taste or other factors—caused many class members to purchase Tito’s at any price.




11
   Reidhead further opined that his opinions based on nationwide data can be translated to a New York
class, “given the size of the New York market (approximately 5% of Total U.S.), and the fact that the
majority of vodka brands have fairly national footprints ….” Reidhead Report ¶ 8.

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               3.      There Is No Evidence of a Price-Premium Injury, Much Less a
                       “Common” One

       A plaintiff seeking compensatory damages under section 349 must show that the material

deceptive act or practice caused “actual” injury, though not necessarily pecuniary harm. Stutman

v. Chem. Bank, 95 N.Y.2d 24, 29 (N.Y. Ct. App. 2000). “‘Deception and injury must be separately

pled.’” Kacocha, 2016 WL 4367991, at *13 (quoting Dimond v. Darden Rests., Inc., No. 13-CV-

5244, at *9 (S.D.N.Y. July 9, 2014)). “[A] [section] 349 claim is infirm where the alleged injury

consists only of having been deceived.” Id. (citing Small v. Lorillard Tobacco Co., 720 N.E.2d

892, 898 (N.Y. 1999)). Relief seeking monetary recoupment of the purchase price is not sufficient

to state a claim under section 349. Small, 720 N.E.2d at 898. The important “‘rationale’ of this

limitation ‘is that deceived consumers may nevertheless receive-and retain the benefits of-

something of value, even if it is not precisely what they believed they were buying.’” Delgado v.

Ocwen Loan Servicing, LLC, No. 13-CV-4427 (NGG) (RML), 2014 WL 4773991, at *10

(E.D.N.Y. Sept. 24, 2014) (quoting Servedio v. State Farm Ins. Co., 889 F. Supp. 2d 450, 452

(E.D.N.Y. 2012)). Thus, an actual injury claim under section 349 requires a plaintiff to “allege

that, on account of a materially misleading practice, she purchased a product and did not receive

the full value of her purchase.” Orlander, 802 F.3d at 302 (emphasis added). Singleton has not

demonstrated such an injury either individually or measurably on a classwide basis.

       “‘The first step in a damages study is the translation of the legal theory of the harmful event

into an analysis of the economic impact of that event.’” Comcast, 133 S. Ct. at 1435 (quoting

FEDERAL JUDICIAL CENTER, REFERENCE MANUAL             ON   SCIENTIFIC EVIDENCE 432 (3d ed. 2011)

(emphasis in original). Singleton’s class-certification record fails this initial step because it is

based entirely on theory, assumptions, and speculation—not in any way grounded in economic

analysis.




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        Singleton’s theory of injury is that he and similarly situated consumers paid a retail “price

premium” for Tito’s Handmade Vodka based upon the belief that it was a higher-quality brand

because of the way it was made. But he has failed to show any basis for determining that there

was in fact a price premium—much less one that can be determined for each class member.

        Singleton’s theory first requires him to identify an appropriate benchmark product. Thus,

his theory requires him to identify an appropriate benchmark product, with comparable quality

ratings and comparable distribution, that sells at a lower retail price. Singleton has been asked,

but has yet to identify such a product. Nor will he ever be able to do so.

        His expert Coffey opined based on a single snapshot in time (2016) and prices not

applicable in New York, that Tito’s Handmade Vodka is higher priced that Smirnoff and Skyy

because of its “handmade” label. Coffey Decl. (Hopkins Decl., Ex. 12) ¶¶ 10-12; see also Coffey

Depo. at 148:6-149:16. In doing so, Coffey made no true comparison analysis. Instead, he chose

Smirnoff and Skyy because they were the only other corn-based,12 non-foreign 80-proof brands in

a top-10 list13 he drew from a website he had never before used. Coffey Depo. at 143:5-14; 152:18-

22. But there has been no showing that these are of comparable quality to Tito’s. Notably,

Singleton himself considers these two brands to be lower tiered than Tito’s. Singleton Depo. at

98:24-99:7; see id. at 99:9-16 (acknowledging that Skyy is substantially less expensive than

Tito’s—“we’re talking a [10-] or 15-dollar leeway …”); see also Nolletti Decl. ¶ 29 (Exhibit 12)

(“Tito’s Handmade Vodka readily competes with more expensive imports and “status symbol”




12
 Coffey admitted that the labels of Smirnoff and Skyy do not indicate they are made from corn, Coffey
Depo. at 100:18-24; 152:18-22. And
13
  Coffey failed to consider what brands were top sellers during any year during the class period except
2016— possibly because Tito’s was not in the top ten list for sales on the particular website he used in prior
years—or any brands that were not in the top ten that particular year according to the methodology that the
website used. See, e.g., Liska Decl. ¶¶ 12.

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vodkas, such as Ketel One or Stolichnaya, and it does not really compete with less expensive

brands like Skyy and Smirnoff.”).

          As to the numbers, Coffey simply created averages from two website price listings

(Benny’s in Chicago and BevMo on the West Coast)14 for these non-comparators on a single day

and drew unfounded conclusions. Coffey Depo. at 148:7-14, 18-22; 149:17-23. He did not try to

look for New York sources and agreed that the offerings and prices in local liquor retailers would

likely vary. Coffey Depo. at 145:15-22; 148:6-17. He admitted he had no information for on-

shelf, retail pricing for New York retailers during the class period. Id. 150:8-151:1, and that he

had not tried to compile a price picture for retail sales of vodka in New York. Id. at 151:25-152:2.15

          Singleton’s other “price-premium” expert, Michael Meyerson (“Meyerson”) opines that “it

is possible to determine class-wide damages in this case, using market research data and

defendant’s own business records.” Meyerson Decl. ¶ 9 (attached to Hopkins Decl. as Ex. 1). But

Meyerson is a law professor, not an economist. Meyerson Depo. at 10:21-24; 207:12-18.16 He is

admittedly not an expert on the alcohol industry and relied exclusively on Coffey’s declaration.

Id. at 23:12-24:4. Although Meyerson opined that hedonic price analysis—an “econometric

tool”—can be used “to separate and identify the price effect of each distinct characteristic” of a

product, Meyerson Decl. ¶ 29, 36, he did not attempt to do so and admitted he was not aware of

anyone who could calculate the portion of the retail price of Tito’s Handmade Vodka in New York


14
     There are no chain stores, such as BevMo, in New York. Nolletti Decl. ¶ 27.
15
  Neither Coffey nor Singleton’s “consumer perception” expert, Jon Krosnick (“Krosnick”) attempted to
assess the impact of their claimed consumer perceptions of quality on consumers’ purchase intent or
willingness to pay more. Id. at 168:24-169:4; see also Krosnick Depo. at 109:14-21; 130:14-132:11. And
Krosnick’s survey was not of consumers of Tito’s Handmade Vodka, but of the public generally, and is of
limited at best evidentiary value for multiple reasons, see Rappeport Decl. at 5-6 (Exhibit 14), as will be
more fully developed in Fifth Generation’s accompanying motion to strike his opinion testimony.
16
  Fifth Generation will be separately moving to strike the opinion testimony of each of Singleton’s experts
on various grounds, but in particular, Meyerson lacks the qualifications to provide opinions about retail
vodka pricing in New York or anywhere.

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Liska Decl. ¶ 17 (Exhibit 11). Thus, Singleton cannot show a price premium.

        Even if the Court were to indulge the theory of a price premium here, Singleton has failed

to show that it could be calculated on a common basis. As Comcast made clear, the economic

model must “measure damages resulting from the particular [] injury on which [the] liability in

this action is premised.” 133 S. Ct. at 1433. The omission of any economic—as opposed to

theoretical, legal—model is not coincidence. There would be no way to calculate a price premium

without reference to the particular purchasing circumstances of each class member, considering

that: (i) alcohol manufacturers do not sell directly to retailers, much less consumers, and so do not

control retail prices; (ii) in New York, there are no chain liquor stores, and grocery stores do not

sell liquor, so “each retail liquor store is separate from the next and must set its own prices;”

(iii) numerous individual strategies employed by these myriad liquor stores—such as discounts,

promotions, etc.— impact retail pricing, which varies widely. Nolletti Decl. ¶¶ 7-17.

        B.     The Intentional Misrepresentation Claim Fails to Satisfy Rule 23

        To establish a claim for intentional misrepresentation, a plaintiff must show that “(1) the

defendant made a material false statement or omission; (2) the defendant intended to defraud the

plaintiff; (3) the plaintiff reasonably relied upon the representation or omission; and (4) the

plaintiff suffered damage as a result of such reliance.” B & M Linen, Corp., v. Kannegiesser, USA,

Corp., 679 F. Supp. 2d 474, 480 (S.D.N.Y. 2010) (citation omitted). As explained above, the

misrepresentation, causation, reasonable reliance (materiality), and damages elements of the fraud

claim—to the extent it is actionable—cannot be certified. See parts II.A.1-3.

III.    Singleton Is Neither Typical of Nor Adequate to Represent the Class

        A central “purpose of the typicality requirement is to ensure that . . . the named plaintiff’s

claim and the class claims are so interrelated that the interests of the class members will be fairly

and adequately protected in their absence.” Mazzei v. Money Store, 829 F.3d 260, 272 (2d Cir.



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2016) (internal quotations omitted). Similarly, the adequacy of representation requirement

“ensures that the named plaintiffs are appropriate representatives of the class whose claims they

wish to litigate,” Dukes, 564 U.S. at 349, by “effectively limit[ing] the class claims to those fairly

encompassed by the named plaintiff's claims.” Falcon, 457 U.S. at 156 (internal quotations and

citation omitted). As explained above, Singleton’s actual experience is not the one he pleads for

the class. He could not have relied on the label, as he alleges the other class members did, and is

subject to summary judgment on that unique basis—as more fully explained in Fifth Generation’s

contemporaneous motion—so neither typical of nor adequate to represent the other class members.

IV.    A Class Action Would Not Be Superior to Other Resolutions

       As noted above, Tito’s Handmade Vodka is regulated by the TTB, the U.S. Government’s

expert on alcohol labeling. And the TTB has considered and rejected a previous challenge to the

use of “handmade” on the label. See Factual Background, part A. It has also consistently approved

the use of “crafted in an old-fashioned pot still” on the label for decades, even after having toured

and thoroughly inspected Fifth Generation’s distillery multiple times. Id. The TTB has a

procedure for parties wishing to challenge an alcohol label. If an applicant wishes to appeal the

denial or qualified approval of a COLA, the regulations require that the applicant first initiate an

appeal to the TTB, in a multi-step process. 27 C.F.R. § 13.25-.27. The availability of this process

demonstrates the superiority of that regulatory option to a class action seeking penalties.

V.     Injunctive Relief Is Not Appropriate

       Singleton asserts that the class can be alternatively certified under Rule 23(b)(2) because

he seeks injunctive relief. But the injunctive relief he seeks—a label change—cannot be effected

without approval by the TTB. Singleton’s bid for this relief is an effective collateral challenge to

the TTB’s jurisdiction, providing yet another reason to deny certification.




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VI.     The Proposed Class Definition Is Improper

        The proposed class also fails on ascertainability grounds. Marcus v. BMW of N. Am., LLC,

687 F.3d 583, 593 (3d Cir. 2012). As Fifth Generation does not sell directly to consumers, or even

retailers, it will be difficult at best to determine who the class members are, as most are unlikely

to have retained itemized receipts of their vodka purchases going back five years. Singleton’s

proposal that class members identify themselves as class members through questionnaires has been

rejected by a number of federal courts. See Byrd v. Aaron’s, Inc., 784 F.3d 154, 165 (3d Cir.

2015); see also Karhu v. Vital Pharms., Inc., 621 Fed. Appx. 945, 949 (11th Cir. 2015); Hughes

v. The Ester C Co., 317 F.R.D. 333, 349-50 (E.D.N.Y. 2016); In re Avon Anti–Aging Skincare

Creams & Prods. Mktg. & Sales Practices Litig., No. 13–CV–150(JPO), 2015 WL 5730022, at *5

(S.D.N.Y. Sept. 30, 2015); Weiner v. Snapple Beverage Corp., No. 07 CIV. 8742(DLC), 2010 WL

3119452, at *12 (S.D.N.Y. Aug. 5, 2010).

        Finally, in his Motion, Singleton suggests that the class period should be April 12, 2012,

through present. Motion at 1. But Singleton filed suit in April 2015, and testified that he stopped

purchasing Tito’s Handmade Vodka before filing suit. There is no basis for extending the class

period indefinitely, and Singleton has provided no argument in this regard.

                                             PRAYER

        For these reasons, Defendant Fifth Generation, Inc. requests that the Court deny Plaintiff’s

Motion for Class Certification and grant Defendant such other and further relief to which it is

entitled.




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                                     Respectfully submitted,


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